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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                             No. 16-1092V
                                          (Not to be published)


*************************
                           *
DARLA SHAFFER,             *
                           *
               Petitioner, *                                              Filed: July 21, 2017
                           *
          v.               *                                              Decision by Proffer; Vaccine Act
                           *                                              Entitlement; Damages; Influenza
SECRETARY OF HEALH         *                                              Vaccine; Complex Regional Pain
HUMAN SERVICES             *                                              Syndrome (CRPS)
               Respondent. *
                           *
*************************


Kenneth R. Behrend, Pittsburgh, PA, for Petitioner
Douglass Ross, U.S. Department of Justice, Washington, D.C., for Respondent.




                                                    DECISION1

HASTINGS, Special Master.

        This is an action seeking an award under the National Vaccine Injury Compensation
Program2 on account of an injury suffered by Darla Shaffer. On July 20, 2017, Respondent filed
a “Proffer on Award of Compensation.” That proffer represents that Petitioner’s counsel,
Kenneth Behrend, agrees that the amount of the proffered award is a reasonable measure of
Petitioner’s damages.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
Decision on the United States Court of Federal Claims' website. Therefore, this document will be made available to
the public unless the Petitioner files, within fourteen days, an objection to the disclosure of any material in the
Decision that would constitute, “medical files and similar files the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” See 42 U.S.C. § 300aa—12(d)(4)(B); Vaccine Rule 18(b).
2
  The applicable statutory provisions defining the Program are found at 42 U.S.C. § 300aa—10 et seq. (2012).
Hereinafter, for ease of citation, all “§” references will be to 42 U.S.C. (2012). I will also sometimes refer to the Act
of Congress that created the Program as the “Vaccine Act.”
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        I have reviewed the file, and based on that review, I conclude that the Respondent’s
Proffer appears to be an appropriate one, pursuant to § 300aa-15(b). (I have attached a copy of
the Proffer to this decision.) I order that Respondent make a lump sum payment as described
below.

        •        Respondent shall make a total lump sum payment of $227,018.33, in the form
                 of a check payable to Petitioner, representing compensation for all damages that
                 would be available under 42 U.S.C. §300aa-15(a).

        Under the statute governing the Program, as well as the “Vaccine Rules” adopted by this
court, the special master must now enter a decision endorsing that Proffer, and the clerk must
enter judgment, in order to authorize payment of the award. See § 300aa-12(d)(3)(A) and (e)(3);
§ 300aa-13(a); Vaccine Rules 10(a), 11(a).3

        Darla Shaffer is entitled to an award under the Vaccine Act to provide compensation for
her injury. The award shall be in the form of a lump sum payment, as provided above.

      In the absence of a timely-filed motion for review of this Decision, the clerk shall enter
judgment in accord with this Decision.

IT IS SO ORDERED.


                                                                 /s/ George L. Hastings, Jr.
                                                                     George L. Hastings, Jr.
                                                                     Special Master




3
 The “Vaccine Rules of the United States Court of Federal Claims” are found in Appendix B of the Rules of the
United States Court of Federal Claims.
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

************************** * *
                              *
DARLA SHAFFER,                *
                              *
               Petitioner,    *
                              *
v.                            *                              No. 16-1092V (ECF)
                             *                               SPECIAL MASTER HASTINGS
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
               Respondent.    *
*****************************

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       In his March 10, 2017 damages order, the Special Master noted that the parties had

commenced the process of settling damages in this case. The parties have now addressed the

amount of compensation to be awarded.

I.     Compensation

       Based upon the evidence of record, respondent proffers that a lump sum of $227,018.33

should be awarded petitioner. This amount is comprised of: a) $28,077.62 for life care items

(including medical co-pays, prescriptions, YMCA membership, and medical mileage), reduced

to net present value; b) $45,482.43 in lost earnings, reduced to net present value; c) $150,000.00

for actual and projected pain and suffering; and d) $3,458.28 for past expenses. This lump sum

amount represents all elements of compensation to which petitioner would be entitled under 42

U.S.C. § 300aa-15(a). 1 Petitioner agrees.



1
  Should petitioner die prior to entry of judgment, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering, and the parties reserve the
right to move the Court for appropriate relief.
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II.    Form of the Award

       The parties recommend that the compensation provided should be made in the form of a

check for $227,018.33, payable to petitioner.

                                                Respectfully submitted,

                                                CHAD A. READLER
                                                Acting Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division

                                                CATHARINE E. REEVES
                                                Deputy Director
                                                Torts Branch, Civil Division

                                                LINDA S. RENZI
                                                Senior Trial Counsel
                                                Torts Branch, Civil Division

                                                /s/ DOUGLAS ROSS
                                                DOUGLAS ROSS
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DATE: July 20, 2017




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